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                        UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                       AT CHARLESTON

RUSTYN BOOTH,

                              Plaintiff,

v.                                                            CIVIL ACTION NO. 2:21-cv-00564

MOSES NISSAN, LLC,

                              Defendant.

                                    SCHEDULING ORDER


       The Court has reviewed the parties’ Federal Rule of Civil Procedure 26(f) report. The

Scheduling Conference previously scheduled for December 10, 2021, is CANCELED.

       Pursuant to Fed. R. Civ. P. 16(b) and Local Rule of Civil Procedure 16.1(e), it is

accordingly ORDERED that this case shall proceed as follows:

       1.      Amendments and Joinder: The amendment of any pleading and the joinder of

any party shall be completed no later than January 10, 2022.

       2.      Discovery: The parties shall serve all discovery requests by May 16, 2022, and

complete all depositions by June 30, 2022.      The last date to complete depositions shall be the

“discovery completion date” by which all discovery, including disclosures required by Federal

Rule of Civil Procedure 26(a)(1), (2), and (b)(5), but not disclosures required by Federal Rule of

Civil Procedure 26(a)(3), shall be completed.    Pursuant to Local Rule 26.1(c), the Court adopts

and approves the agreements of the parties with respect to limitations on discovery (numbers of

interrogatories, requests for admissions, and depositions).


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       3.      Expert Witnesses: The party bearing the burden of proof on an issue shall make

the disclosures of information required by Fed. R. Civ. P. 26(a)(2)(A) and (B) for that issue to all

other parties or their counsel no later than April 26, 2022. The party not bearing the burden of

proof on an issue shall make the disclosures required by Fed. R. Civ. P. 26(a)(2)(A) and (B) for

that issue to all other parties or their counsel no later than May 26, 2022. All parties shall provide

the disclosures required by Fed. R. Civ. P. 26(a)(2)(A) and (B) if the evidence is intended solely

to contradict or rebut evidence on the same issue identified by another party under Fed. R. Civ. P.

26(a)(2)(B), no later than June 16, 2022.

       4.      Summary Judgment and Other Dispositive Motions: All dispositive motions,

except those under Rule 12(b), together with depositions, admissions, documents, affidavits, or

other such matter in support thereof, shall be filed and served by July 20, 2022, with responses

due by August 3, 2022, and replies due by August 10, 2022. Any motion must be supported by

a memorandum of law at the time filed or submitted. If any motion, memorandum in support,

response, or reply, inclusive of all attachments, exceeds fifty (50) pages in length, a hard copy of

such materials shall be submitted to the presiding District Judge at the time of filing.

       5.      Settlement Meeting: No later than September 20, 2022, the parties and their lead

trial counsel shall meet and conduct negotiations looking toward the settlement of the action, and

counsel will be prepared at the pretrial conference to certify that they have done so. Counsel for

the plaintiff shall take the initiative in scheduling the settlement meeting, and all other counsel

shall cooperate to effect such negotiations. Any mediation scheduled by the parties must be

concluded no later than the settlement meeting date. If the action is not settled during the

settlement meeting or mediation session, and if there is no order or stipulation to the contrary,


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counsel and unrepresented parties shall make all Rule 26(a)(3) disclosures at the conclusion of the

meeting or session.

       6.      Motions in Limine: All motions in limine shall be filed and served by September

27, 2022, with responses due by October 4, 2022.

       7.      Proposed Integrated Pretrial Order:           The plaintiff portion of the proposed

integrated pretrial order shall be submitted to opposing counsel by September 26, 2022, who shall

then prepare and complete the opposing portion thereof and submit the proposed integrated pretrial

order, signed by all counsel, to the Court for entry no later than October 3, 2022. The proposed

integrated pretrial order, signed by all counsel and unrepresented parties, shall set forth the matters

listed in Local Rule of Civil Procedure 16.7(b).

       8.      Pretrial Conference: A pretrial conference shall be held at 9:00 am on October

27, 2022, at which lead trial counsel shall appear fully prepared to discuss all aspects of the case.

Individuals with full authority to settle the case for each party shall be present in person.

       9.      Proposed Charges to the Jury: The original and one copy of proposed jury

instructions, numbered and in charge form, on substantive theories of recovery or defense, on

damages and on evidentiary matters peculiar to the case, and special interrogatories, if any be

appropriate to the case, requested by counsel for submission to the jury, together with a verdict

form, shall be exchanged by counsel and submitted to the presiding District Judge by November

8, 2022. On that same date, the proposed jury instructions and verdict form shall also be

submitted to the presiding District Judge on compact disc saved in Word compatible format or

emailed to chambers according to instructions provided by the Court’s law clerk.




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       10.      Final Settlement Conference: A final settlement conference, attended by all

unrepresented parties and by lead trial counsel for each represented party, shall be held at 9:00 am

on October 27, 2022, or as earlier directed by the Court. Individuals with full authority to settle

the case for each party shall be present in person.

       11.      Trial: Trial of this action shall be held at 9:00 am on November 15, 2022, before

the undersigned. Trial will commence upon completion of jury selection in any other case

scheduled for this date. This case is presently the first case on the trial docket for that week.

       12.      Failure to Appear or Negotiate: Should lead trial counsel fail to appear at any

pre-trial conference or otherwise fail to meet and confer in good faith with opposing counsel as

required in paragraph 5 above, or should a party or his authorized representative fail to appear or

be available at any conference or otherwise fail to meet and confer in good faith as required in

paragraph 5 above, appropriate sanctions may be imposed, including, but not limited to, sanctions

by way of imposition of attorney fees against the attorney and/or his client pursuant to Fed R Civ

P Rule 16(f).

       All proceedings shall be held by the Court at the Robert C. Byrd United States Courthouse,

300 Virginia Street, East, Charleston West Virginia.

       The dates listed above are summarized in the following table:

                  Deadline                            Date
Amending the pleadings or joining parties 01/10/2022
Last date to serve discovery requests        05/16/2022
Opening Rule 26 expert disclosures           04/26/2022
Responsive Rule 26 expert disclosures        05/26/2022
Rebuttal Rule 26 expert disclosure           06/16/2022
Discovery to close                           06/30/2022


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Dispositive motions deadline              07/20/2022
Response to dispositive motion            08/03/2022
Reply to response to dispositive motion   08/10/2022
Settlement meeting                        09/20/2022
Motion in limine deadline                 09/27/2022
Responses for motions in limine           10/04/2022
Proposed pretrial order to defendant      09/26/2022
Integrated pretrial order                 10/03/2022
Pretrial conference                       10/27/2022 9:00 AM
Proposed jury charge                      11/08/2022
Final settlement conference               10/27/2022 9:00 AM
Trial                                     11/15/2022 9:00 AM


        IT IS SO ORDERED.

        The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                           ENTER:        December 3, 2021




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